                Case 6:16-bk-16877-WJ                      Doc 1 Filed 08/01/16 Entered 08/01/16 15:44:59                                      Desc
                                                           Main Document     Page 1 of 19
Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Russel
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Dennis
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Hiles, III
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7186
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Russel Dennis Hiles, III                                                                   Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 155 Metate Place
                                 Palm Desert, CA 92260
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Riverside
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Russel Dennis Hiles, III                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Russel Dennis Hiles, III                                                                       Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Russel Dennis Hiles, III                                                                   Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor   1    Russel Dennis Hiles, Ill                                                                                    Case number (if known)


             Answer These Questions for Reporting Purposes

16.   What kind of debts do       16a.             Are your debts primarily consumer debts? Consumer debts are defined in                     11   U.S.C. § 101(8) as "incurred by an
      you have?                                    individual primarily for a personal, family, or household purpose."

                                                                No. Go to line 16b.

                                                                Yes. Go to line 17.
                                  16b.             Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                                No. Go to line 16c.

                                                                Yes. Go to line 17.
                                  16c.             State the type of debts you owe that are not consumer debts or business debts



17.   Are you filing under                 No.
                                                       I   am not filing under Chapter 7. Go to line 18.
      Chapter 7?

      Do you estimate that                 Yes.    Iam filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
      after any exempt                             are paid that funds will be available to distribute to unsecured creditors?
      property is excluded and
      administrative expenses                                   No
      are paid that funds will
      be available for                                          Yes
      distribution to unsecured
      creditors?

18.   How many Creditors do                1-49                                                    1,000-5,000                                     25,001-50,000
      you estimate that you                                                                        5001-10,000                                     50,001-100,000
      owe?                                 50-99
                                           100-199                                                 10,001-25,000                                   More than100,000
                                           200-999

19.   How much do you                      $0 - $50,000                                            $1,000,001   -   $10 million                    $500,000,001 - $1 billion
      estimate your assets to              $50,001 - $100,000                                      $10,000,001 - $50 million                       $1,000,000,001 - $10 billion
      be worth?                                                                                                                                    $10,000,000,001 - $50 billion
                                           $100,001 - $500,000                                     $50,000,001 - $100 million
                                           $500,001 - $1 million                                   $100,000,001 - $500 million                     More than $50 billion


20.   How much do you                      $0 - $50,000                                            $1,000,001 - $10 million                        $500,000,001 - $1 billion
      estimate your liabilities             $50,001 - $100,000                                     $10,000,001 - $50 million                       $1,000,000,001 - $10 billion
      to be?                                                                                                                                       $10,000,000,001 - $50 billion
                                           $100,001 - $500,000                                     $50,000,001 - $100 million
                                           $500,001 - $1 million                                   $100,000,001 - $500 million                     More than $50 billion


CM           Sign Below

For you                           I    have examined this petition, and declare under penalty of perjury that the information provided is true and correct.
                                                                                          I




                                  If have chosen to file under Chapter 7, am aware that may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                       I                                                      I            I


                                  United States Code. understand the relief available under each chapter, and choose to proceed under Chapter 7.
                                                                        I                                                          I




                                  If no attorney represents me and                  did not pay or agree to pay someone who is not an attorney to help me fill out this
                                                                                      I


                                  document,                I   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I    request relief in accorieance with the chapter of title 11, United States Code, specified in this petition.

                                  Iunderstand making7a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy cse cat result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                  and 3571.

                                  Russ            ri ems Hiles, III                                                 Signature of Debtor   2

                                  Signature of Debtor 1

                                  Executed on                                                                       Executed
                                                                                                                    E        on
                                                                  MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                     page   6
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Debtor 1   Russel Dennis Hiles, III                                                                       Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Robert P. Goe                                                  Date         August 1, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert P. Goe
                                Printed name

                                GOE & FORSYTHE, LLP
                                Firm name

                                18101 Von Karman Avenue
                                Suite 1200
                                Irvine, CA 92612-7127
                                Number, Street, City, State & ZIP Code

                                Contact phone     (949) 798-2460                             Email address

                                137019
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                     Russel Dennis Hiles, III
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              Credit Card                 $ $30,590.00
              Amex
              Correspondence                                         As of the date you file, the claim is: Check all that apply
              Po Box 981540                                                  Contingent
              El Paso, TX 79998                                              Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Legal fees                  $ $43,000.00
              Atty of Hiles re Farmers &
              Gorgeson                                               As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 1

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 Debtor 1          Russel Dennis Hiles, III                                                         Case number (if known)




 3                                                                   What is the nature of the claim?              Legal fees                  $ $14,000.00
            Atty of Hiles re Farmers &
            Gorgeson                                                 As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Credit Card                 $ $1,462.00
            Bank Of America
            Nc4-105-03-14                                            As of the date you file, the claim is: Check all that apply
            Po Box 26012                                                     Contingent
            Greensboro, NC 27410                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Potential deficiency -      $ $2,000.00
                                                                                                                   Recreational
            Bank Of The West
            2527 Camino Ramon                                        As of the date you file, the claim is: Check all that apply
            San Ramon, CA 94583                                              Contingent
                                                                             Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Credit Card                 $ $51,896.00
            Barclays Bank Delaware
            Po Box 8801                                              As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19899                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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 Debtor 1          Russel Dennis Hiles, III                                                         Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Credit Card                 $ $38,540.00
            Chase Card Services
            Attn: Correspondence Dept                                As of the date you file, the claim is: Check all that apply
            Po Box 15298                                                     Contingent
            Wilmington, DE 19850                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Partial summary             $ $1,700,000.00
                                                                                                                   judgment
            Christopher T. Borgeson
            2150 Ladera Rd.                                          As of the date you file, the claim is: Check all that apply
            Ojai, CA 93023                                                   Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Credit Card                 $ $11,215.00
            Citi
            Citicorp Cr Srvs/Centralized                             As of the date you file, the claim is: Check all that apply
            Bankruptcy                                                       Contingent
            Po Box 790040                                                    Unliquidated
            S Louis, MO 63129                                                Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Alleged breach of           $ $55,000.00
                                                                                                                   contract


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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 Debtor 1          Russel Dennis Hiles, III                                                         Case number (if known)

            Concierge Auctions, LLC                                  As of the date you file, the claim is: Check all that apply
            405 Lexington Avenue                                             Contingent
            New York, NY 10174                                                Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              Property taxes re Hiles $ $2,072.14
                                                                                                                   Borgeson LLP
            County of Los Angeles-Treas. &
            Tax                                                      As of the date you file, the claim is: Check all that apply
            PO Box 514818                                                    Contingent
            Los Angeles, CA 90051-4818                                       Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?                                          $ $4,000.00
            County of San Diego - Tax
            Collector                                                As of the date you file, the claim is: Check all that apply
            1600 Pacific Hwy., Rm. 162                                       Contingent
            San Diego, CA 92101-2474                                         Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Medical                     $ $1,500.00
            Eisenhower Medical Center
            39000 Bob Hope Drive                                     As of the date you file, the claim is: Check all that apply
            Rancho Mirage, CA 92270                                          Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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 Debtor 1          Russel Dennis Hiles, III                                                         Case number (if known)

                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Arbitration award            $ $5,500,000.00
            Farmer's Insurance Co.
            Attn: Doren E. Hohl, Agent                               As of the date you file, the claim is: Check all that apply
            6301 Owensmouth Ave.                                             Contingent
            Woodland Hills, CA 91367-7000                                     Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              155 Metater Place     $ $74,674.62
                                                                                                                   Palm Desert, CA 92260
                                                                                                                   Riverside County
            Franchise Tax Board
            Attn-Bankruptcy                                          As of the date you file, the claim is: Check all that apply
            PO Box 2952                                                      Contingent
            Sacramento, CA 95812-2952                                         Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $1,369,572.62
                                                                                    Value of security:                               - $ $2,750,000.00
            Contact phone                                                           Unsecured claim                                    $ $74,674.62


 16                                                                  What is the nature of the claim?              Taxes                        $ $4,159,082.14
            Internal Revenue Service
            PO Box 145566                                            As of the date you file, the claim is: Check all that apply
            Cincinnati, OH 45250-5566                                        Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?              Medical                      $ $1,500.00
            Loma Linda Medical Center
            11234 Anderson St.                                       As of the date you file, the claim is: Check all that apply
            Loma Linda, CA 92354                                             Contingent
                                                                             Unliquidated


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 5

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 Debtor 1          Russel Dennis Hiles, III                                                         Case number (if known)

                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              2015 Mercedes Benz           $ $27,451.00
                                                                                                                   400SL
            Mb Fin Svcs
            36455 Corporate Dr                                       As of the date you file, the claim is: Check all that apply
            Farmington Hills, MI 48331                                       Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $27,451.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $27,451.00


 19                                                                  What is the nature of the claim?              Auto Lease                   $ $1,912.00
            Porsche Financial Srvc
            980 Hammond Dr                                           As of the date you file, the claim is: Check all that apply
            Atlanta, GA 30328                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Consumer Use Tax,            $ $32,240.00
                                                                                                                   Vessels
            State Board of Equalization
            Account Information Group, MIC:                          As of the date you file, the claim is: Check all that apply
            29                                                               Contingent
            PO Box 942879                                                    Unliquidated
            Sacramento, CA 94279-0001                                        Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 6

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Debtor      1        Russel Dennis Hiles, III                                                            Case number (if known)




                Sign Belo

Under penalW of perjury, I declare that the information provided in this form is true and correct.

X                                                                                            X
        gusge          ennis Hiles    111                                                         Signature of Debtor 2
       4-Signature of Debtor    1




         Date                                                                                     Date




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                       Russel Dennis Hiles, III
                       155 Metate Place
                       Palm Desert, CA 92260


                       Robert P. Goe
                       GOE & FORSYTHE, LLP
                       18101 Von Karman Avenue
                       Suite 1200
                       Irvine, CA 92612-7127


                       Amex
                       Correspondence
                       Po Box 981540
                       El Paso, TX 79998


                       Anthony Capobianco
                       Capobianco Law Offices, P.C.
                       41990 Cook Street, Bldg. F Ste. 200
                       Palm Desert, CA 92211


                       Atty of Hiles re Farmers & Gorgeson



                       Bank of America
                       9000 Southside Blvd., Bldg 700 File
                       Jacksonville, FL 32256


                       Bank Of America
                       Nc4-105-03-14
                       Po Box 26012
                       Greensboro, NC 27410


                       Bank Of The West
                       2527 Camino Ramon
                       San Ramon, CA 94583
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                   Barclays Bank Delaware
                   Po Box 8801
                   Wilmington, DE 19899


                   Chase Card Services
                   Attn: Correspondence Dept
                   Po Box 15298
                   Wilmington, DE 19850


                   Christopher T. Borgeson
                   2150 Ladera Rd.
                   Ojai, CA 93023


                   Citi
                   Citicorp Cr Srvs/Centralized Bankruptcy
                   Po Box 790040
                   S Louis, MO 63129


                   Concierge Auctions, LLC
                   405 Lexington Avenue
                   New York, NY 10174


                   County of Los Angeles-Treas. & Tax
                   PO Box 514818
                   Los Angeles, CA 90051-4818


                   County of San Diego - Tax Collector
                   1600 Pacific Hwy., Rm. 162
                   San Diego, CA 92101-2474


                   De Castro West, et al.
                   Attn: Michael Cohen
                   10960 Wilshire Blvd., 14th Fl.
                   Los Angeles, CA 90024-3881
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                   Deschutes County Treasurer
                   1300 NW Watt St., #200
                   Bend, OR 97701


                   Eisenhower Medical Center
                   39000 Bob Hope Drive
                   Rancho Mirage, CA 92270


                   Farmer's Insurance Co.
                   Attn: Doren E. Hohl, Agent
                   6301 Owensmouth Ave.
                   Woodland Hills, CA 91367-7000


                   Farmers Insruance Comapny, Inc.
                   c/o Stoel Rives LLP
                   760 SW Ninth Ave. Ste. 3000
                   Portland, OR 97205-2584


                   Farmers Insurance Comapny, Inc.
                   Attn: Doren E. Hohl, Agent
                   6301 Owensmouth Ave.
                   Woodland Hills, CA 91367-7000


                   Farmers Insurance Company, Inc.
                   PO Box 2450
                   Grand Rapids, MI 49501-2450


                   Farmers Insurance Exchange
                   6301 Owensmouth Avenue
                   Woodland Hills, CA 91367


                   Ford Motor Credit
                   Po Box 62180
                   Colorado Springs, CO 80962
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                   Franchise Tax Board
                   Attn-Bankruptcy
                   PO Box 2952
                   Sacramento, CA 95812-2952


                   Franchise Tax Board
                   PO Box 942867
                   Sacramento, CA 94267


                   Internal Revenue Service
                   PO Box 145566
                   Cincinnati, OH 45250-5566


                   Internal Revenue Service
                   PO Box 7346
                   Philadelphia, PA 19101-7346


                   Internal Revenue Service
                   1973 N. Rulon White Blvd.
                   Ogden, UT 84201-0021


                   Keybank NA
                   Attn: Recovery Payment Pr
                   4910 Tiedeman Road (Rtg Code: 08-01-
                   Brooklyn, OH 44144


                   Loma Linda Medical Center
                   11234 Anderson St.
                   Loma Linda, CA 92354


                   Master Card
                   837 3rd St.
                   Santa Monica, CA 90403
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                   Mb Fin Svcs
                   36455 Corporate Dr
                   Farmington Hills, MI 48331


                   Porsche Financial Srvc
                   980 Hammond Dr
                   Atlanta, GA 30328


                   State Board of Equalization
                   Account Information Group, MIC: 29
                   PO Box 942879
                   Sacramento, CA 94279-0001


                   Suntrust Mortgage/cc 5
                   Attn:Bankruptcy Dept
                   1001 Semmes Ave Va-Wmrk-7952
                   Richmond, VA 23224
